Case 2:18-cr-OOO78-GZS Document 3 Filed 05/21/18 Page 1 of 10 Page|D #: 2

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_ 1 Violgtion:*_ n
HUSSIEN NOOR HUSSIEN, also DEP}JTY CLERH 18 U.S.C. § 1425; s U.s.C. § 1451(¢)
known as ABUKAR HASSAN ABDULE )

UNITED STATES OF AMERICA

CRIMINAL COMPLAINT
I, J ames Sauer, the complainant in this case, being duly swom, state that the following is
true and correct to the best of my knowledge and belief:
Count One
(Unlawful Procurement of Citizenship or Naturalization)
18 U.S.C. § 1425 and 8 U.S.C. § l451(e)

l. On or about October 28, 201 l, in the District of Maine, the defendant,

HUSSIEN NOOR HUSSIEN
also known as ABUKAR HASSAN ABDULE

knowingly procured and attempted to procure naturalization for himself, contrary to law, in
violation of Title 18, United States Code, Section l425(b).
2. This criminal complaint is based on the facts set forth in my affidavit, dated

May 21 , 2018, attached hereto and incorporated herein by reference

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James duer,'Special Agent
U.S epartment of State
Diplomatic Security Service

Dated: .S'£é/ f abf V

Case 2:18-cr-OOO78-GZS Document 3 Filed 05/21/18 Page 2 of 10 Page|D #: 3

S'I`ATE OF MAINE

Cumberland County

Subscribed and sworn to before me this Q§$:jt,y©%h 8
Jo H. 'ch 111 '
Un'ted S tes Magistrate Judge

Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 3 of 10 Page|D #: 4

AFFIDAVIT OF SPECIAL AGENT JAMES M. SAUER
IN SUPPORT OF CRIMINAL COMPLAINT

I, James M. Sauer, being duly sworn, depose and state as follows:
Background

1. I am a Special Agent of the U.S. Department of State, Diplomatic Security Service
(DSS), assigned to the Portsmouth Resident Offlce in Portsmouth, New Hampshire. I have been
a DS Special Agent for six years. I Was previously a security contractor With the Department of
State and other government agencies, and prior to that served in the U.S. Marine Corps for thirty
years.
2. l have completed the Special Agent Training Program at the Federal Law Enforcement
Training Center, Criminal Investigators Training Prograrn, and the DSS Special Agent Basic
Course. The DSS training covered various legal aspects of criminal enforcement of the criminal
codes related to passport and visa fraud. I have conducted numerous investigations regarding
violations of Title 18 of the United States Code.
3. As a Special Agent with DSS, I am authorized to conduct criminal investigations, make
arrests, and execute search and arrest warrants for offenses in violation of the codes pertaining to
passport and visa violations, as well as related violations of Title 18 of the United State Code.
This affidavit is submitted in support of an Application for a Criminal Complaint and Arrest

Warrant for Hussien Noor HUSSIEN.

Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 4 of 10 Page|D #: 5

4. Since June 2017, I have been involved in the investigation of Hussien Noor HUSSIEN
for Procurement of citizenship or naturalization unlawfully (18 U.S.C § 1425: 8 U.S.C § 1451
(e)), and related crimes.
5. The facts and information in this affidavit are based on my personal knowledge as well as
that of other law enforcement officers involved in this investigation All observations that were
not made by me personally were related to me by the persons who made the observations
Rele.vant ..S_tatutes.
IS. Title 18, United States Code, Section 1425 states:
(a) Whoever knowingly procures or attempts to procure, contrary to law, the
naturalization of any person, or documentary or other evidence of naturalization
or of citizenship; or (b) Whoever, whether for himself or another person not
entitled thereto, knowingly issues, procures or obtains or applies for or otherwise
attempts to procure or obtain naturalization, or citizenship, or a declaration of
intention to become a citizen, or a certificate of arrival or any certificate or
evidence of nationalization or citizenship, documentary or otherwise, or

duplicates or copies of any of the foregoing

'F'. The statute of limitations for this offense is ten years as set forth in 18 U.S.C. § 3291.

Summgg; of the Investigation

8. Bvidence obtained in this investigation establishes that on or about August 27, 2004,
Hussien Noor Hussien, entered the United States under false pretenses, falsely claiming refugee
status using the name and identification of another person, Abukar Hassan Abdule. He entered
the country with the wife and children of Abdule, falsely claiming that they were his wife and

children.

9. He later obtained a Maine driver’s license, falsely using the name Abukar Hassan
Abdule. On March 22, 2007, Hussien fraudulently obtained Legal Permanent Resident Status

under the name Abukar Hassan Abdule.

Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 5 of 10 Page|D #: 6

10. Finally, on May 25, 2011, Hussien Noor Hussien signed and filed a Form N-400
(Application for Naturalization) in the District of Maine using the name Abukar Hassan Abdule.
In this application, he provided a false name, and falsely answered “no" to the question, “Have
you ever committed a crime or offense for Which you were not arrested?” He also falsely
answered “no” to the questions, “Have you ever given false or misleading information to any
U.S. Govemment official while applying for any immigration benefit or to prevent deportation,
exclusion or removal?” and, “Have you ever lied to any lj.S. Government official to gain entry
or admission into the United States.” Based upon this false application, Hussien’s application
was approved and Hussien Noor Hussien Was naturalized in the District of Maine under the

name Abukar Hassan Abdule on October 28, 2011.

Details of the Investigation

11. On May 18, 2017, the Department of State, Bureau of Consular Affairs, National
Passport Center (CA/PP'I`/NPC) referred the application of Hussien Noor HUSSIEN, 01/01:“ 1963
of Somalia, to the Bureau of Diplomatic Security Service, Portsmouth Resident Office
(DS/PSRO) for investigation into possible violations of passport fraud and aggravated identity
theft. HUSSIEN previously naturalized and applied for a U.S. passport in the identity of Abukar
Hassan ABDULE. The suspected passport fraud and identity theft was discovered during a fraud
review of the applications of Abukar Hassan ABDULE’s children in the normal adjudication
process by the Fraud Prevention Manager (FPM). An initial investigation determined HUSSIEN
did in fact use the identity of ABDULE. to both naturalize and apply for passports in 2011 and
2013.

12. On November 8, 2011, a Form DS-ll (Application for a U.S. Passport), number

323796700, was executed by Hussien Noor HUSSIEN in the name of Abukar Hassan ABDULE,
-3-

Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 6 of 10 Page|D #: 7

at the United States Postal Service, located in Lewiston, Maine. HUSSIEN submitted a Maine
Driver’s License, number 4884327 as proof of identity and a Naturalization Certificate bearing
his likeness filed on October 28, 2011, as proof of citizenship in support of his application The
application listed Batula ISMAIL as the ex-wife of ABDULE.

13. On July 19, 2013, a Form DS-82 Application for U.S. Passport Renewal, number
257335375, with a name change from Abukar Hassan ABDULE to Hussien Noor HUSSIEN,
was received at the National Passport Center. On August 8, 2013, passport #511585345 and
passport card #C08046673 were issued to HUSSIEN in his own name.

14. During a fraud review of the applications of Abukar Hassan ABDULE’s children it was
discovered that two individuals were using the Abukar Hassan ABDULE identity. HUSSIEN’s
likeness in passport applications #323796700, #257335375, and naturalization certificate #
#34846063, did not match the individual pictured in the identification documents (refugee cards)
submitted With the minor children’s passports.

15. U.S. Immigration records indicate Abukar Hassan ABDULE Was accepted for
resettlement as a refugee to the United States in 2004. The documents submitted with his minor
children’s passport applications were his reidgee identity cards from Kenya issued in 2010 and
2015. All of ABDULE’s consent forms for his minor children’s passport applications were
executed in Kenya where he appears to reside.

16. On June 7, 2017, results of various law enforcement and open source database checks
conducted during initial case intake determined that in August 2004, an individual using the
name Abukar Hassan ABDULE entered the United States as a refugee with his supposed wife
and children. Thereafter, the individual identifying himself as ABUDLE obtained various

immigration benefits before naturalizing as ABDULE in October of 201 1.

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Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 7 of 10 Page|D #: 8

17. In November 2011, the person using ABDULE’s identity, executed a Form DS-l l
(Application for a U.S. Passport), at the United States Postal Service, located in Lewiston,
Maine. 'I`his person submitted a Maine Driver’s License, number 4884327, bearing the name
Abukar Hassan Abdule as proof of identity and a Naturalization Certificate bearing his likeness,
filed on October 28, 2011, as proof of citizenship in support of his application

18. Two years later, in 2013, the person using the name Abukar Hassan Abdule used a Form
DS-82, Application for U.S. Passport Renewal, number 257335375, to effect a name change
from Abukar Hassan ABDULE to Hussien Noor HUSSIEN. The passport and card were issued
by the National Passport Center.

19. On June 29, 2017, l contacted Housing and Urban Development/Office of the Inspector
General (HUD/OIG) Special Agent Janine Rocheleau regarding the possibility that the
SUBJECT was residing with Runbila ADAN in Section 8 housing in Burlington, VT. SA
Rocheleau was able to obtain the Tenant File from HUD, and confirmed that the SUBJEC'I` was
listed as a tenant with ADAN and five (5) children _ two (2) of whom were adults.

20. The Tenant File appeared to include a pay stub for the SUBJECT indicating that he
worked at the Walmart in Williston VT. I contacted personnel officer Ann Perkins Cray at
Walmart in Williston. Cray reported that the SSN and DOB for Abukar S. HASSAN did not
match the SSN or DOB for the SUBJECT. Cray searched under Hussien N. HUSSIEN and
found a match, confirming the SUBJECT’s SSN, DOB, and address.

21. On July 25, 2017, Investigative Analyst (IA) Andrew Lorello and 1 interviewed Batula
ISMAIL in Auburn, ME. ISMAIL was cooperative, and with the help of her son, Abdillahi, who
translated, stated that she married Abukar Hassan ABDULA in a Kenyan refugee camp about

twenty years ago and divorced him in Kenya around 1997. In or around 2000, ISMAIL stated

-5-

Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 8 of 10 Page|D #: 9

that she married the SUBJECT, who is Abukar Hassan ABDULA’s brother, Hussien Noor
HUSSIEN. ISMAIL stated that the SUBJECT used his brother’s ABDULA identity in order to
obtain a visa to come to the United States with her and her children. She further stated that the
SUBJECT was naturalized using his brother’s name (Abukar Hassan ABDULA). ISMAIL
stated that she was divorced from the SUBJECT several years ago in Lewiston District Court.
ISMAIL was shown a picture of Abukar Hassan ABDULA (TRUE ID) taken from ABDULA’s
refugee card, and she stated that the person depicted was the father of her children. She was then
shown passport photographs of the SUBJECT, and stated that his real name was HUSSIEN and
that he had represented himself as ABDULA in order to obtain a visa and naturalize in the
United States. During the interview, ISMAIL’s son, Abdillahi, stated that he recognized the
picture of ABDULA from the Kenyan refugee card as his father (ABDULA). He stated that he
recognized the passport photograph of the SUBJECT as HUSSIEN. He stated that although he
and his siblings had referred to the SUBJECT as “Dad,” they knew that he was in fact their
uncle.

22. On May 11, 2018, Batula Hussien testified under oath consistent with what she stated in
her 2017 interview. However, she clarified that Hussien and Abdula were not really “brothers,”
but were related, and that it was common for Somalis to refer to male relatives in that manner.

She also testified that she never really considered herself to be married to Hussien.

23. On July 26, 2017, I requested and received copies of the Complaint and Judgment for
Divorce between “Abukar Hassan ABDULE” (Plaintifi) and Batula ISMAIL (Defendant) from
the Lewiston District Court. In the Judgment for Divorce, dated January 27, 2011, the court
found that: “1. The parties do not have children together The court specifically finds and orders

that the Plaintiff is not the father of the following children born to the Defendant:”

.6.

Case 2:18-cr-00078-GZS Document 3 Filed 05/21/18 Page 9 of 10 Page|D #: 10

24. On April 13, 2013, Hussien Noor Hussien obtained an order from a Vermont state court
judge lawfully changing the names of children that he fathered with another woman The birth
certificates were changed to reflect that their father’s name was Hussien Noor Hussien instead of
Abukar Hassan Abdule.

25. On 03/20/2018, the SUBJECT, Hussien Noor HUSSIEN, was interviewed by your
affiant, accompanied by Special Agents Jeremy Anderson (DSS) and Janine Rocheleau (HUD)
in the parking lot of the TD Bank, Winooski VT. The SUBJECT stated that in 2004 he used the
name Abukar Hassan ABDULE on his refugee forms and other documents in order to come to
the United States as the husband of Batula ISMAIL. He stated that the TRUE ID, Abukar
Hassan ABDULE had cooperated in the deception He explained that ISMAIL had been married
to the TRUE ID, but they were divorced. HUSSIEN then married ISMAIL in the Kenyan
refugee camp. He stated that he came to the United States pretending to be Abukar Hassan
ABDULE, and the father of ISMAIL’s children who are the biological children of the TRUE ID.
He stated that he divorced ISMAIL (court records indicate a decree on 1/27/2011). The
SUBJECT stated that he had always been known as Hussien Noor HUSSIEN, and that he used
the name Abukar Hassan ABDULE for entry into the United States and to obtain naturalization
26. Based on the investigation, I believe that there is probable cause to believe that Hussien
Noor HUSSIEN has committed violations of U.S Codes pertaining to visa, passport, and

immigration fraud in violation of Title 18, United States Code, Procurement of citizenship or

  
    

naturalization unlawfully 18 U.S.C § 1425: 8 U.S.C § 1451(e).

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fiat/§ Jame au , Special Agent

U. .Department of State
Diplomatic Security Service

   

Case 2:18-cr-00078-GZS Documer_tt 3 Filed 05/21/18 Page 10 of 10 Page|D #: 11

STATE OF MAINE
Cumberland County

Subscribed and sworn to before me this ¢l\’day of May, at PortlaFll\/I`ain@

Jo H. Ri ifll'f' v
U ted St es Magistrate Judge

